                                            1:20-cv-01248-JES-JEH # 13         Page 1 of 2
                                                                                                                         E-FILED
AO 458 (Rev. 06/09) Appearance of Counsel                                           Tuesday, 29 September, 2020 09:07:13 AM
                                                                                                 Clerk, U.S. District Court, ILCD
                                     UNITED STATES DISTRICT COURT
                                                               for the
                                                   Central District
                                                  __________          of__________
                                                             District of Illinois

                   MICHAEL BOATMAN                                )
                             Plaintiff                            )
                                v.                                )      Case No.     20-cv-01248-JES-JEH
   PEORIA AREA ASSOCIATION OF REALTORS                            )
                            Defendant                             )

                                                   APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

         PEORIA AREA ASSOCIATION OF REALTORS                                                                               .


Date:          09/29/2020                                                                 /s/ Matthew W. Casey
                                                                                            Attorney’s signature


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                           1:20-cv-01248-JES-JEH # 13        Page 2 of 2

                              UNITED STATES DISTRICT COURT
                           FOR THE CENTRAL DISTRICT OF ILLINOIS



            MICHAEL BOATMAN                      )
                   Plaintiff                     )
                      v.                         )    Case No. 20-cv-01248-JES-JEH
PEORIA AREA ASSOCIATION OF REALTORS              )
                  Defendant                      )


                                  CERTIFICATE OF SERVICE

I certify that on _______________,
                   09/29/2020      I electronically filed the foregoing with the Clerk of the

Court using the CMECF system which will send notification of such filing to the following:

_____________________________________________________________________________,
 Plaintiff's counsel, Evan A. Andersen and Joel B. Rothman

and I certify that I have mailed by the United States Postal Service the document to the following

non CMECF participants:

_____________________________________________________________________________.




                                                           /s/ Matthew W. Casey
                                                            Attorney’s signature

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